AO 245D (WDNC Rev. 4/04) Judgment in a Criminal Case for Revocation


                                    UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
UNITED STATES OF AMERICA                                                JUDGMENT IN A CRIMINAL CASE
                                                                        (For Revocation of Probation or Supervised Release)
         V.                                                             (For Offenses Committed On or After November 1, 1987)


Bruce Elliott Little                                                    Case Num ber: 3:97CR142-1 & 3:97CR40
                                                                        USM Num ber:

                                                                        Roderick Davis
                                                                        Defendant’s Attorney

THE DEFENDANT:

X        adm itted guilt to violation of condition(s) 2-10 of the term of supervision.
         W as found in violation of condition(s) count(s)           After denial of guilt.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violations(s):
                                                                                               Date Violation
 Violation Num ber               Nature of Violation                                           Concluded

 2                               New Law Violation                                             4/1/06

 3                               Drug/Alcohol Use                                              8/16/05

 4                               Failure to Com ply with Drug Testing/Treatm ent               2/28/06
                                 Requirem ents

 5                               Failure To Subm it Monthly Supervision Reports                4/5/06

 6                               Failure to m ake required court paym ents                     4/5/06

 7                               Failure to report to probation officer as instructed          3/22/06

 8                               Failure to com ply with drug testing/treatm ent               4/11/06
                                 requirem ents

 9                               Failure to report change in residence                         3/1/06

 10                              Failure to report contact with Law Enforcem ent Officer       4/19/06
       The Defendant is sentenced as provided in pages 2 through 4 of this judgment. The sentence is im posed
pursuant to the Sentencing Reform Act of 1984, United States v. Booker, 125 S.Ct. 738 (2005), and 18 U.S.C. § 3553(a).

X        The Defendant has not violated condition(s) 1 and is discharged as such to such violation(s) condition.

        IT IS ORDERED that the Defendant shall notify the United States Attorney for this district within 30 days of any
change of nam e, residence, or m ailing address until all fines, restitution, costs, and special assessm ents im posed by this
judgm ent are fully paid. If ordered to pay m onetary penalties, the defendant shall notify the court and United States
attorney of any m aterial change in the defendant’s econom ic circum stances.
                                                                      DateSigned:   February
                                                                            of Im position     23, 20072/12/07
                                                                                           of Sentence:




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                                                           IM PRISONM ENT

        The defendant is hereby com m itted to the custody of the United States Bureau of Prisons to be im prisoned for a
term of FOURTEEN (14) MONTHS.




 X       The Court m akes the following recom m endations to the Bureau of Prisons:

        That the BOP take note that the defendant shall not be required to m ake restitution paym ents until he is released
from actual physical incarceration for six(6) m onths pursuant to re-sentencing hearing held on 11/28/01

 X       The Defendant is rem anded to the custody of the United States Marshal.

         The Defendant shall surrender to the United States Marshal for this District:

                           As notified by the United States Marshal.

                            At___a.m . / p.m . on ___.

         The Defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

                           As notified by the United States Marshal.

                            Before 2 p.m . on ___.

                           As notified by the Probation Office.

                                                               RETURN

         I have executed this Judgm ent as follows:




       Defendant delivered on __________ to _______________________________________ at
________________________________________, with a certified copy of this Judgm ent.


                                                       ___________________________________________
                                                       United States Marshal


                                              By:      _______________________________________
                                                       Deputy Marshal




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                                               CRIM INAL M ONETARY PENALTIES

The defendant shall pay the following total crim inal m onetary penalties in accordance with the Schedule of Paym ents.


              ASSESSM ENT                                         FINE                                  RESTITUTION

                  $100.00                                        $0.00                                      $9,143.32
                                                                                         ***T otal outstanding balance of R estitution due and
                                                                                                          rem ains in effect***




                                                                  FINE


         The defendant shall pay interest on any fine or restitution of m ore than $2,500.00, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgm ent, pursuant to 18 U.S.C. § 3612(f). All of the paym ent options
on the Schedule of Paym ents m ay be subject to penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

                  The court has determ ined that the defendant does not have the ability to pay interest and it is ordered that:


X                 The interest requirem ent is waived.

                  The interest requirem ent is m odified as follows:


                                              COURT APPOINTED COUNSEL FEES

                  The defendant shall pay court appointed counsel fees.

                  The defendant shall pay $                  Towards court appointed fees.




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                                                 RESTITUTION PAYEES

The defendant shall m ake restitution to the following payees in the am ounts listed below:


 NAME OF PAYEE                                                        AMOUNT OF RESTITUTION ORDERED
 Southtrust Bank                                                      $7,448.51

 CNA Insurance                                                        $1,805.81




         The defendant is jointly and severally liable with co-defendants for the total am ount of restitution.

         Any paym ent not in full shall be divided proportionately am ong victim s.




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                                                    SCHEDULE OF PAYM ENTS


Having assessed the defendant’s ability to pay, paym ent of the total crim inal m onetary penalties shall be due as follows:

         A         X       Lum p sum paym ent of $         Due im m ediately, balance due

                           Not later than      , or
                           In accordance         (C),      (D) below; or

         B                 Paym ent to begin im m ediately (m ay be com bined with            (C),        (D) below); or

         C                 Paym ent in equal               (E.g. weekly, m onthly, quarterly) installm ents of $           To
                           com m ence               (E.g. 30 or 60 days) after the date of this judgm ent; or

         D                 Paym ent in equal            (E.g. weekly, m onthly, quarterly) installm ents of $         To
                           com m ence            (E.g. 30 or 60 days) after release from im prisonm ent to a term of
                           supervision. In the event the entire am ount of crim inal m onetary penalties im posed is not paid
                           prior to the com m encem ent of supervision, the U.S. Probation Officer shall pursue collection of
                           the am ount due, and m ay request the court to establish or m odify a paym ent schedule if
                           appropriate 18 U.S.C. § 3572.


Special instructions regarding the paym ent of crim inal m onetary penalties:

         The defendant shall pay the cost of prosecution.
         The defendant shall pay the following court costs:
         The defendant shall forfeit the defendant’s interest in the following property to the United States:


Unless the court has expressly ordered otherwise in the special instructions above, if this judgm ent im poses a period of
im prisonm ent paym ent of crim inal m onetary penalties shall be due during the period of im prisonm ent. All crim inal
m onetary penalty paym ents are to be m ade to the United States District Court Clerk, 401 W est Trade Street, Room 210,
Charlotte, NC 28202, except those paym ents m ade through the Bureau of Prisons’ Inm ate Financial Responsibility
Program . All criminal m onetary penalty paym ents are to be m ade as directed by the court.




Paym ents shall be applied in the following order: (1) assessm ent, (2) restitution principal, (3) restitution interest, (4) fine
principal, (5) com m unity restitution, (6) fine interest, (7) penalties, and (8) costs, including cost of prosecution and court
costs.




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